             Case 20-11177-KBO         Doc 601-3     Filed 08/28/20    Page 1 of 3




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                     In re:                       Chapter 11

             AKORN, INC., et al.,                 Lead Case No. 20-11177 (KBO)
                                                  Jointly Administered
                    Debtors.
                                                  Honorable Karen B. Owens
                                                  Hearing Date: Sept. 1, 2020 at 10:00 a.m.
                                                  Obj. Deadline: Sept. 1, 2020 at 10:00 a.m.
                                                  Re: D.I. #553

 NOTICE OF MOTION OF 1199SEIU BENEFIT FUNDS, DC47 FUND AND SBA FUND
FOR LEAVE TO FILE OBJECTION (DI #553) TO THE DEBTORS’ MOTION TO SELL
 (DI #18) AND CONFIRMATION OF THE DEBTORS’ PLAN (DI #258) UNDER SEAL


TO:

JENNER & BLOCK LLP                                   T. Patrick Tinker. Esq.
Catherine L. Steege (admitted pro hac vice)          Assistant United States Trustee (Region 3)
353 N. Clark Street Chicago, Illinois 60654          Jane M. Leamy, Esq.
Telephone: (312) 923-2952                            Trial Attorney
Fax: (312) 840-7352                                  OFFICE OF THE UNITED STATES
Email: csteege@jenner.com                            TRUSTEE
Counsel to the Official Committee of                 844 King Street, Suite 2207
Unsecured Creditors of Akorn, Inc. et al.            Wilmington, Delaware 19801
                                                     Thomas.P.Tinker@usdoj.gov
KIRKLAND & ELLIS LLP                                 Jane.M.Leamy@usdoj.gov
KIRKLAND & ELLIS INTERNATIONAL
LLP
Patrick J. Nash, Jr., P.C. (admitted pro hac
vice)
300 North LaSalle Street
Chicago, Illinois 60654
Email: patrick.nash@kirkland.com
Counsel to the Debtors


       1199SEIU BENEFIT FUNDS, DC47 FUND AND SBA FUND (the “Movants”) have

filed a Motion to Seal which seeks the following relief:
             Case 20-11177-KBO           Doc 601-3    Filed 08/28/20     Page 2 of 3




       To permit the Movants to file portions of “1199SEIU Benefit Funds, DC47 Fund and

SBA Fund’s Objection to the Debtors’ Motion to Sell (DI #18) and Confirmation of the Debtors’

Plan (DI #258)” (DI #553) under seal.



HEARING ON THE MOTION WILL BE HELD ON September 1, 2020, at 10:00 a.m.

       Pursuant to Local Rule 9018-1(d)(viii) you are required to file a response (and the

supporting documentation required by Local Rule 4001-1(c)) to the attached motion by the

above hearing date.

    At the same time, you must also serve a copy of the response upon movant's attorney:

    Edmond M. George, Esquire (pro hac vice)
    OBERMAYER REBMANN MAXWELL & HIPPEL LLP
    Centre Square West
    1500 Market Street, Suite 3400
    Philadelphia, PA 19102
    Telephone: (215) 665-3140
    Facsimile: (215) 665-3165
    Email: Edmond.george@obermayer.com


    The hearing date specified above may be a preliminary hearing or may be consolidated with

the final hearing, as determined by the Court.

    The attorneys for the parties shall confer with respect to the issues raised by the motion in

advance for the purpose of determining whether a consent judgment may be entered and/or for

the purpose of stipulating to relevant facts.



                                       Respectfully submitted,
Dated: August 28, 2020
       Wilmington, Delaware
                                           By: /s/Leslie B. Spoltore
                                              Leslie B. Spoltore, Esquire (DE Bar No. 3605)

                                                 2
Case 20-11177-KBO   Doc 601-3   Filed 08/28/20   Page 3 of 3




                        OBERMAYER REBMANN MAXWELL & HIPPEL LLP
                        123 Justison Street, Suite 100
                        Wilmington, Delaware 19801
                        Telephone: (302) 238-6947
                        Facsimile: (302) 655-1092
                        Email: leslie.spoltore@obermayer.com

                        -and-

                        Edmond M. George, Esquire (pro hac vice)
                        Michael D. Vagnoni, Esquire (pro hac vice)
                        Turner N. Falk, Esquire (pro hac vice)
                        OBERMAYER REBMANN MAXWELL & HIPPEL LLP
                        Centre Square West
                        1500 Market Street, Suite 3400
                        Philadelphia, PA 19102
                        Telephone: (215) 665-3140
                        Facsimile: (215) 665-3165
                        Email: Edmond.george@obermayer.com
                        Counsel to AFSCME District Council 47 Health
                        and Welfare Fund, 1199SEIU National Benefit
                        Fund, 1199SEIU Greater New York Benefit Fund,
                        1199SEIU National Benefit Fund for Home Care
                        Workers, 1199SEIU Licensed Practical Nurses
                        Welfare Fund and Sergeants Benevolent
                        Association Health and Welfare Fund




                           3
